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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

HOWARD COHAN,                                    ) INJUNCTIVE RELIEF SOUGHT
                                                 )
        Plaintiff,                               )
                                                 )
vs.                                              ) CASE NO.:
                                                 )
JUST B’ CLAWS, INC d/b/a SHAW’S                  )
CRAB HOUSE                                       )
                                                 )
        Defendant.                               )

                                            COMPLAINT

        Plaintiff, HOWARD COHAN (“Plaintiff”), by and through undersigned counsel, hereby

files this Complaint against the Defendant JUST B’ CLAWS, INC d/b/a SHAW’S CRAB

HOUSE (“Defendant”) seeking declaratory and injunctive relief, attorneys’ fees, expenses and

costs (including, but not limited to, court costs and expert fees) pursuant to 42 U.S.C. §12182 et.

seq., and the 2010 Americans with Disabilities Act (“ADA”). In support of this Complaint, the

Plaintiff alleges as follows:


                                  JURISDICTION AND VENUE

        1.      This Court is vested with original jurisdiction over this action pursuant to 28

U.S.C. §1331 for Plaintiff’s claims arising under Title 42 U.S.C. §12182 et. seq., based on

Defendant’s violations of Title III of the ADA. See also 28 U.S.C. §§2201 and 2202 as well as

the 2010 ADA Standards.

        2.      Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) because the

Defendant is located in the Northern District of Illinois, Eastern Division and all events giving

rise to the lawsuit occurred in this judicial district.



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                                                PARTIES

        3.       Plaintiff, HOWARD COHAN is a resident of the state of Florida residing in Palm

Beach County, Florida.

        4.       Upon information and belief, Defendant is the lessee, operator, owner and/or

lessor of the Real Property, which is subject to this lawsuit, and is located at 21 E. Hubbard St,

Chicago, IL 60611 (“Premises”) and is the owner of the improvements where the Premises is

located.

        5.       The Premises is a place of public accommodation in that it operates as a public

restaurant.

        6.       Defendant is authorized to conduct, and is in fact conducting, business within the

state of Illinois.

        7.       Plaintiff is an individual with numerous permanent disabilities including severe

spinal stenosis of the lumbar spine with spondylolisthesis; severe spinal stenosis of the cervical

spine with nerve root compromise on the right side; a non-union fracture of the left acromion

(shoulder); a labral tear of the left shoulder; a full thickness tear of the right rotator cuff; a right

knee medial meniscal tear; a repaired ACL and bilateral meniscal tear of the left knee; and severe

basal joint arthritis of the left thumb. The above listed permanent disabilities and symptoms

cause sudden onsets of severe pain and substantially limit Plaintiff’s major life activities,

including but not limited to walking, standing, lifting, bending and performing manual tasks

without severe pain. Accordingly, the plaintiff is a person with a disability within the meaning of

the ADA.




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        8.      At the time of Plaintiff’s visit to the Premises on August 17, 2019 (and prior to

instituting this action), Plaintiff suffered from a “qualified disability” under the ADA and

required the use of a handicap parking space and the use of other means of accessibility for

persons with disabilities. Plaintiff personally visited the Premises, but was denied full and equal

access and full and equal enjoyment of the facilities, services, goods and amenities within the

Premises, even though he would be classified as a “bona fide patron”.

        9.      Plaintiff, in his individual capacity, will absolutely return to the Premises in the

near future and avail himself to the services offered at the Premises when Defendant modifies the

Premises or modifies the policies and practices to accommodate individuals who have physical

disabilities. Plaintiff frequently travels to Illinois and averages at least two (2) to three (3) trips

per year for the past ten (10) years.

        10.     Plaintiff is continuously aware of the violations at Defendant’s Premises and is

aware that it would be a futile gesture to return to the Premises as long as those violations exist,

and Plaintiff is not willing to suffer additional discrimination.

        11.     Plaintiff has suffered, and will continue to suffer, direct and indirect injury as a

result of Defendant’s discrimination until Defendant is compelled to comply with the

requirements of the ADA.

        12.     Plaintiff would like to be able to be a patron of the Premises in the near future and

be able to enjoy the goods and services that are available to the able-bodied public, but is

currently precluded from doing so as a result of Defendant’s discriminatory conduct as described

herein. Plaintiff will continue to be precluded from using the Premises until corrective measures

are taken at the Premises to eliminate the discrimination against persons with physical

disabilities.



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        13.     Completely independent of his personal desire to have access to this place of

public accommodation free of illegal barriers to access, Plaintiff also acts as a “tester” for the

purpose of discovering, encountering and engaging discrimination against the disabled in public

accommodations. When acting as a “tester”, Plaintiff employs a routine practice. Plaintiff

personally visits the public accommodation; engages all of the barriers to access, or at least of

those that Plaintiff is able to access; tests all of those barriers of access to determine whether and

the extent to which they are illegal barriers to access; proceeds with legal action to enjoin such

discrimination; and subsequently returns to the Premises in the near future to verify its

compliance or non-compliance with the ADA and to otherwise use the public accommodation as

members of the able-bodied community are able to do. Independent of other subsequent visits,

Plaintiff also intends to visit the Premises regularly to verify its compliance or non-compliance

with the ADA, and its maintenance of the accessible features of the Premises. In this instance,

Plaintiff, in Plaintiff’s individual capacity and as a “tester”, visited the Premises, encountered

barriers to access at the Premises, engaged and tested those barriers, suffered legal harm and

legal injury and will continue to suffer such harm and injury as a result of the illegal barriers to

access and the violations of the ADA set forth herein. It is Plaintiff’s belief that said violations

will not be corrected without Court intervention, and thus Plaintiff will suffer legal harm and

injury in the near future.

        14.     Plaintiff, in his capacity as a tester, will absolutely return to the Premises when

Defendant modifies the Premises or modifies the policies and practices to accommodate

individuals who have physical disabilities to confirm said modifications have been completed in

accordance with the requirements of the ADA.




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               VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

       15.      On July 26, 1990, Congress enacted the ADA, 42 U.S.C. §12101 et. seq.

Commercial enterprises were provided one and a half (1.5) years from enactment of the statute to

implement its requirements. The effective date of Title III of the ADA was January 26, 1992, or

January 26, 1993 if Defendant has ten (10) or fewer employees and gross receipts of $500,000.00

or less. See 42 U.S.C. §12182; see also 28 C.F.R. §36.508(a).

       16.      Congress found, among other things, that:

             a. some 43,000,000 Americans have one or more physical or mental disabilities, and

                this number shall increase as the population continues to grow older;

             b. historically, society has tended to isolate and segregate individuals with

                disabilities and, despite some improvements, such forms of discrimination against

                disabled individuals continue to be a pervasive social problem, requiring serious

                attention;

             c. discrimination against disabled individuals persists in such critical areas as

                employment, housing, public accommodations, transportation, communication,

                recreation, institutionalization, health services, voting and access to public

                services and public facilities;

             d. individuals with disabilities continually suffer forms of discrimination, including

                outright intentional exclusion, the discriminatory effects of architectural,

                transportation, and communication barriers, failure to make modifications to

                existing facilities and practices, exclusionary qualification standards and criteria,

                segregation, and relegation to lesser services, programs, benefits, or other

                opportunities; and



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             e. the continuing existence of unfair and unnecessary discrimination and prejudice

                denies people with disabilities the opportunity to compete on an equal basis and to

                pursue those opportunities for which our country is justifiably famous, and costs

                the United States billions of dollars in unnecessary expenses resulting from

                dependency and nonproductivity.

42 U.S.C. §12101(a)(1)-(3),(5) and (9).

       17.      Congress explicitly stated that the purpose of the ADA was to:

             a. provide a clear and comprehensive national mandate for elimination of

                discrimination against individuals with disabilities;

             b. provide clear, strong, consistent, enforceable standards addressing discrimination

                against individuals with disabilities; and

             c. invoke the sweep of congressional authority, including the power to enforce the

                fourteenth amendment and to regulate commerce, in order to address the major

                areas of discrimination faced on a daily basis by people with disabilities.

42 U.S.C. §12101(b)(1)(2) and (4).

       18.      Pursuant to 42 U.S.C. §12182(7), 28 CFR §36.104 and the 2010 ADA Standards,

Defendant’s Premises is a place of public accommodation covered by the ADA by the fact it

provides services to the general public and must be in compliance therewith.

       19.      Defendant has discriminated, and continues to discriminate against Plaintiff and

others who are similarly situated by denying access to and full and equal enjoyment of goods,

services, facilities, privileges, advantages and/or accommodations located at the Premises, as

prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et. seq., and by failing to remove

architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



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        20.      Plaintiff has visited the Premises and has been denied full and safe equal access to

the facilities, and therefore suffered an injury in fact.

        21.      Plaintiff will return to the Premises in the near future and enjoy the goods,

services, facilities, privileges, advantages and/or accommodations at the Premises on a planned,

or a spontaneous, full and equal basis. However, Plaintiff is precluded from doing so by

Defendant’s failure and refusal to provide persons with disabilities with full and equal access to

its facilities at the Premises. Therefore, Plaintiff continues to suffer from discrimination and

injury due to the architectural barriers that are in violation of the ADA.

        22.      Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General promulgated Federal Regulations to

implement the requirements of the ADA. See 28 CFR §36 and its successor the 2010 ADA

Accessibility Guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, under which

said Department may obtain civil penalties of up to $55,000.00 for the first violation and

$110,000.00 for each subsequent violation.1

        23.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against

Plaintiff as a result of, inter alia, the following specific violations found in the Men’s Restroom:

              a. Failing to provide proper signage for an accessible restroom or failing to redirect

                 a person with a disability to the closest available accessible restroom in violation

                 of 2010 ADAAG §§216, 216.2, 216.6, 216.8, 703, 703.1 703.2, 703.5, and

                 703.7.2.1 and/or §4.30 and 4.30.1 of the 1991 ADA Standards.

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  Effective April 1, 2014 the civil penalties were increased, based on inflation, from $55,000.00
to $75,000.00 for the first violation and from $110,000.00 to $150,000.00 for subsequent
violations. See 28 C.F.R. §§36 and 85.


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    b. Failing to provide sufficient clear floor space around a water closet without any

       obstructing elements in this space in violation of 2010 ADAAG §§603, 603.2,

       603.2.3, 604, 604.3 and 604.3.1 and/or §§4.16, 4.16.2, 4.22 and 4.22.3 of the

       1991 ADA Standards.

    c. Failing to provide a stall door handle that is functional in violation of 2010

       ADAAG §§309, 309.1, 309.3 and 309.4 and/or §§4.27, 4.27.3 and 4.27.4 of the

       1991 ADA Standards.

    d. Failing to provide a coat hook within the proper reach ranges for a person with a

       disability in violation of 2010 ADAAG §§603, 603.4 and 308 and/or §§4.25.3,

       4.2.5 and 4.1.3 of the 1991 ADA Standards.

    e. Failing to provide the water closet in the proper position relative to the side wall

       or partition in violation of 2010 ADAAG §§604 and 604.2 and/or §§4.16, 4.17.2

       and 4.17.3 of the 1991 ADA Standards.

    f. Providing grab bars of improper horizontal length or spacing on the back or side

       wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1, 604.5.2, 609 and 609.4

       and/or §§4.26 and 4.26.2 of the 1991 ADA Standards.

    g. Failing to provide toilet paper dispensers in the proper position in front of the

       water closet or at the correct height above the finished floor in violation of 2010

       ADAAG §§604, 604.7 and 309.4 and/or §4.16.6 of the 1991 ADA Standards.

    h. Failing to provide a urinal designed for a person with a disability where the rim

       height is no more than 17 inches from the finished floor in violation of 2010

       ADAAG §§605 and 605.2 and/or §§4.18, 4.18.2 and 4.22.5 of the 1991 ADA

       Standards.




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    i. Failing to provide the correct opening width for a forward approach into a

       urinal, stall door or lavatory in violation of 2010 ADAAG §§305, 305.7.1, 404,

       605.3 and 606.2 and/or §§4.18.3 and 4.2.5 of the 1991 ADA Standards.

    j. Providing a urinal flush control that exceeds 46 inches in height in violation of

       2010 ADAAG §§308, 308.2.1, 309.3, 605, 605.4 and/or §4.18.4 of the 1991 ADA

       Standards.

    k. Failing to provide proper knee clearance for a person with a disability under a

       counter or sink element in violation of 2010 ADAAG §§306, 306.1, 306.3 and

       306.3.1 and/or §4.24.3 of the 1991.

    l. Failing to provide proper toe clearance for a person with a disability under a

       counter or sink element in violation of 2010 ADAAG §§306, 306.1, 306.2 and

       306.2.1 and/or §§4.24 and 4.24.5 of the 1991 ADA Standards.

    m. Failing to provide mirror(s) located above lavatories or countertops at the

       proper height above the finished floor in violation of 2010 ADAAG §§603 and

       603.3 and/or §§4.19 and 4.19.6 of the 1991 ADA Standards.

    n. Providing pathways and/or aisles that are too narrow in violation of 2010

       ADAAG §§403, 403.1 and 403.5.1.

    o. Providing an element that protrudes greater than 4” into a pathway or space of

       travel situated between 27” and 80” high in violation of 2010 ADAAG §§204,

       307, 307.1, 307.2.

    p. Providing a door with a continuous opening pressure of greater than 5 lbs.

       exceeding the limits for a person with a disability in violation of 2010 ADAAG

       §§404, 404.1, 404.2, 404.2.9 and 309.4 and/or §4.13.11 of the 1991 ADA

       Standards.


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             q. Providing a swinging door or gate with improper maneuvering clearance(s) due

                to a wall or some other obstruction that does not comply with the standards set

                forth in 2010 ADAAG §§404, 404.1, 404.2, 404.2.3, 404.2.4 and 404.2.4.1 and/or

                §§4.13, 4.13.3 and 4.13.6 of the 1991 ADA Standards.

       24.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against

Plaintiff as a result of, inter alia, the following specific violations found in the Oyster Bar Area:

             a. Providing counter heights exceeding 36 inches making it impossible to service a

                person with a disability in violation of 2010 ADAAG §§904, 904.4, 904.4.1 and

                904.4.2 and/or §§4.32.4, 5.2, 5.3 and 5.4 of the 1991 ADA Standards.

             b. Failing to provide the correct height for accessible seating or work surface use

                for person(s) with a disability at a bar or adjacent table in the bar area in

                violation of 2010 ADAAG §§902, 902.1, 902.2, 902.3, 305, 306 and/or §4.32.4 of

                the 1991 ADA Standards.

             c. Failing to provide seating for a person with a disability that has the correct clear

                floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305

                and 306 and/or §§4.2.4, 4.2.5, 4.32.2 and 4.5 of the 1991 ADA Standards.

             d. Failing to provide a sufficient amount of seating when dining surfaces are

                provided for the consumption of food or drink for a person(s) with a disability in

                violation of 2010 ADAAG §§226, 226.1, 902, 305 and 306 and/or §5.1 of the

                1991 ADA Standards.

       25.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against

Plaintiff as a result of, inter alia, the following specific violation found at the Carryout:

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             a. Providing counter heights exceeding 36 inches making it impossible to service a

                person with a disability in violation of 2010 ADAAG §§904, 904.4, 904.4.1 and

                904.4.2 and/or §§4.32.4, 5.2, 5.3 and 5.4 of the 1991 ADA Standards.

       26.      Based on a preliminary inspection of the Premises, Defendant is in violation of 42

U.S.C. §12182 et. seq. and the 2010 ADA Standards et. seq., and is discriminating against

Plaintiff as a result of, inter alia, the following specific violation found in the Bar and

surrounding Restaurant:

             a. Providing counter heights exceeding 36 inches making it impossible to service a

                person with a disability in violation of 2010 ADAAG §§904, 904.4, 904.4.1 and

                904.4.2 and/or §§4.32.4, 5.2, 5.3 and 5.4 of the 1991 ADA Standards.

             b. Failing to provide the correct height for accessible seating or work surface use

                for person(s) with a disability at a bar or adjacent table in the bar area, a baby

                changing table, a recreational area or table area adjacent to a pool for food or

                beverage service, or at a computer work surface in violation of 2010 ADAAG

                §§902, 902.1, 902.2, 902.3, 305, 306 and/or §4.32.4 of the 1991 ADA Standards.

             c. Failing to provide seating for a person with a disability that has the correct clear

                floor space for forward approach in violation of 2010 ADAAG §§902, 902.2, 305

                and 306 and/or §§4.2.4, 4.2.5, 4.32.2 and 4.5 of the 1991 ADA Standards.

             d. Failing to provide a sufficient amount of seating when dining surfaces are

                provided for the consumption of food or drink for a person(s) with a disability in

                violation of 2010 ADAAG §§226, 226.1, 902, 305 and 306 and/or §5.1 of the

                1991 ADA Standards.

             e. Failing to provide a sufficient dispersion of seating throughout the facility when

                dining surfaces are provided for the consumption of food or drink for a

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               person(s) with a disability in violation of 2010 ADAAG §§226, 226.2, 902, 305

               and 306.

         27.   To the best of Plaintiff’s belief and knowledge, at the time of filing this lawsuit

Defendant has failed to eliminate the specific violations set forth in paragraphs 23, 24, 25, and 26

above.

         28.   Although Defendant is charged with having knowledge of the violations,

Defendant may not have had actual knowledge of said violations until this Complaint made

Defendant aware of same.

         29.   To date, the readily achievable barriers and violations of the ADA still exist and

have not been remedied or altered in such a way as to effectuate compliance with the provisions

of the ADA.

         30.   As the owner, lessor, lessee or operator of the Premises, Defendant is required to

comply with the ADA. To the extent the Premises, or portions thereof, existed and were

occupied prior to January 26, 1992, the owner, lessor, lessee or operator has been under a

continuing obligation to remove architectural barriers at the Premises where removal was readily

achievable, as required by 28 C.F.R. §36.402.

         31.   To the extent the Premises, or portions thereof, were constructed for occupancy

after January 26, 1993 the owner, lessor, lessee or operator of the Premises was under an

obligation to design and construct such Premises such that it is readily accessible to and usable

by individuals with disabilities, as required by 28 C.F.R. §36.401.

         32.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 CFR §36.304, Defendant

was required to make the Premises, a place of public accommodation, accessible to persons with

disabilities by January 28, 1992. As of the date of the filing of this Complaint, Defendant has

failed to comply with this mandate.
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       33.      Plaintiff has retained undersigned counsel for the filing and prosecution of this

action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and expenses paid by

Defendant, pursuant to 42 U.S.C. §12205.

       34.      The violations alleged in paragraphs 23, 24, 25, and 26 above are readily

achievable to modify in order to bring the Premises or the Facility/Property into compliance with

the ADA.

       35.      In the instances where the 2010 ADAAG Standards do not apply to the violations

listed in paragraphs 23, 24, 25, and 26 above, the 1991 ADA Standards apply.

       36.      Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff’s injunctive relief, including entering an Order to alter the Premises to make them

readily accessible to and useable by individuals with disabilities to the extent required by the

ADA and closing the Premises until the requisite modifications are completed.

       WHEREFORE, Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

             1. This Court declare that the Premises owned, operated and/or controlled by

                Defendant is in violation of the ADA;

             2. This Court enter an Order requiring Defendant to alter the Premises and/or its

                facilities to make them accessible to and usable by individuals with disabilities to

                the full extent required by Title III of the ADA;

             3. This Court enter an Order directing Defendant to evaluate and neutralize its

                policies, practices and procedures toward persons with disabilities, for such

                reasonable time so as to allow Defendant to undertake and complete corrective

                procedures to the Premises;



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          4. This Court award reasonable attorneys’ fees, all costs (including, but not limited

             to the court costs and expert fees) and other expenses of suit to Plaintiff; and

          5. This Court award such other and further relief as it may deem necessary, just and

             proper.

                                            HOWARD COHAN


                                            By: /s/ Marshall J. Burt
                                                   One of his attorneys

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